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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                             Honorable Douglas E. Arpert

         v.                                           Criminal No. 19-804-12(AET)

 SHAMEKE FOWLER
                                                      DETENTION ORDER

       This matter having come before the Court on the Petition of the United States Probation

Office, and the United States Attorney’s Office (Martha K. Nye, Assistant United States

Attorneys, appearing), and requesting an order revoking the defendant’s bail, and defendant,

Shameke Fowler failing to appear, but Linwood Jones, Esq., counsel for the defendant

appearing; and counsel for defendant taking no position on the Government’s request to revoke

bail; for the reasons stated by the Court on the record; and for good cause shown:

       IT IS, therefore, on this 29th day of November, 2021

       ORDERED that the motion of the United States for an order revoking defendant’s bail

and detaining the defendant without bail pending trial is hereby GRANTED, and the defendant is

hereby ORDERED DETAINED; and it is further

       ORDERED, pursuant to Title 18, United States Code, Section 3142, that the defendant be

committed to the custody of the Attorney General or his authorized representative pending trial

in the above-entitled matter; and it is further

       ORDERED, pursuant to Title 18, United States Code, Section 3142(i), that the defendant

be confined in a corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal; and it is further

       ORDERED, pursuant to Title 18, United States Code, Section 3142(i), that the defendant



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be afforded reasonable opportunity for private consultations with counsel; and it is further

       ORDERED, pursuant to Title 18, United States Code, Section 3142(i), that, upon order of

this or any other court of the United States of competent jurisdiction or on request of an attorney

for the United States, the defendant shall be delivered to a United States Marshal for the purpose

of appearances in connection with court proceedings.




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